Case 1:13-cv-00405-WES-LDA Document 338 Filed 11/29/17 Page 1 of 1 PageID #: 36407


                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF RHODE ISLAND
   ___________________________________
                                       )
   STEWARD HEALTH CARE SYSTEM LLC,     )
   et al.,                             )
                                       )
             Plaintiffs,               )
                                       )
        v.                             )    C.A. No. 13-405 WES
                                       )
   BLUE CROSS & BLUE SHIELD OF         )
   RHODE ISLAND,                       )
                                       )
             Defendant.                )
   ___________________________________)


        NOTICE REGARDING DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

   WILLIAM E. SMITH, Chief Judge.

        Before the Court is Defendant Blue Cross & Blue Shield of

   Rhode   Island’s    (“Blue   Cross”)    Motion   for   Summary    Judgment

   (“Motion”) (ECF No. 157) on all counts set forth in the Amended

   Complaint (ECF No. 90) brought by Plaintiffs Steward Health Care

   System LLC, et al.      After hearing the arguments of counsel and

   reviewing the memoranda submitted on behalf of the parties, the

   Court tentatively intends to grant Blue Cross’s Motion on all

   counts. Accordingly, the previously scheduled trial in this matter

   is postponed until further notice.        An Opinion and Order will be

   forthcoming.




   William E. Smith
   Chief Judge
   Date: November 29, 2017
